     Case 1:14-cr-00103-LJO-SKO Document 80 Filed 07/11/14 Page 1 of 1


 1

 2

 3                                  UNITED STATES DISTRICT COURT

 4                                  EASTERN DISTRICT OF CALIFORNIA

 5

 6   UNITED STATES,                                   CASE NO. 1:14-cr-00103 LJO SKO
 7                     Plaintiff,
 8          v.                                        ORDER RESETTING MOTION TO
                                                      REVOKE
 9   LUIS TEJEDA-HURTADO,
10                     Defendant.
11

12          On June 25, 2014, this Court held a Bail Review Hearing as to Defendant Luis Enrique

13   Tejada-Hurtado (“Defendant”). The Defendant was ordered released on pretrial conditions.

14          Following the hearing, additional information regarding the third party custodian was

15   brought to the Court’s attention by Pretrial Services as well as in the government’s motion for

16   revocation of the magistrate judge’s order. The undersigned has discussed the procedural posture

17   of this case with U.S. District Judge Lawrence J. O’Neill.

18          In light of the new information, the undersigned’s order releasing Defendant on conditions

19   is hereby STAYED and this matter is RESET for a Bail Review Hearing before U.S. Magistrate

20   Judge Sheila K. Oberto on Friday, July 18, 2014, at 2:00 p.m. The July 14, 2014, hearing before

21   District Judge O’Neill is hereby VACATED.

22

23
     IT IS SO ORDERED.
24

25      Dated:     July 11, 2014                                  /s/ Sheila K. Oberto
                                                         UNITED STATES MAGISTRATE JUDGE
26
27

28
                                                     1
